                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,
                                                                   Case No. 06-CR-264
              -vs-

BALDOMERO CASTILLO and
MICHAEL CORNELIUS,

                             Defendants.


                                DECISION AND ORDER


       On October 25, 2007, the Court declared a mistrial in the above-captioned matter. On

October 29, 2007, Baldomero Castillo (“Castillo”) filed papers relating to his motion to

dismiss based upon prosecutorial misconduct (double jeopardy) and his motion for bail

review. On November 6, 2007, the Court denied Castillo’s motion for bail review. On

December 14, 2007, the Court denied Castillo’s motion to dismiss. Now before the Court

are two motions: (1) Castillo’s motion to dismiss based upon a violation of the Speedy Trial

Act (filed on February 20, 2008); and (2) the government’s motion for severance of the

defendants (filed on February 29, 2008). For the reasons that follow, Castillo’s motion to

dismiss is denied, and the motion to sever is granted.

       Under the Speedy Trial Act, if a “defendant is to be tried again following a declaration

by the trial judge of a mistrial . . . the trial shall commence within seventy days from the date

the action occasioning the retrial becomes final.” 18 U.S.C. § 3161(e) (emphasis added).


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The Act provides a laundry list of various “periods of delay” that can be excluded from

computing this and other time periods under the Act. See 18 U.S.C. § 3161(h)(1)(A-J).

       Castillo argues that the only excludable time period runs from October 29 through

December 14, the period of time during which Castillo’s pretrial motions were pending. See

§ 3161(h)(1)(F) (“delay resulting from any pretrial motion, from the filing of the motion

through the conclusion of the hearing on, or other prompt disposition of, such motion”).

However, the initial excludable time period actually extends back to October 25 when the

Court declared a mistrial. The motions that were formally briefed to the Court on October

29 were initially raised before the Court on October 25 in connection with the Court’s order

of a mistrial. Those motions were denied without prejudice, but it was presumed by the

Court and the parties that further briefing of the motions would follow.

       More generally, even if the motions were not technically pending during the short

period of time between October 25 and October 29, this case was still pending and under

advisement before the Court.       § 3161(h)(1)(J) provides that any delay “reasonably

attributable to any period, not to exceed thirty days, during which any proceeding concerning

the defendant is actually under advisement by the court” is an excludable time period under

the Act. During the aforementioned brief time period, this proceeding and all of the issues

surrounding the mistrial, the possible re-trial of this case, and the contemplated motions were

clearly “under advisement” by the Court.

       Accordingly, the entire time period from October 25 through December 14 is

excludable under the Act. Also excludable is the time period from February 20, 2008 until



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the present, during which time the instant motion to dismiss and the government’s motion

for severance have been pending before the Court. See § 3161(h)(1)(F). The number of days

between December 15 and February 19, inclusive, is only 67 days, so there was no violation

of the Speedy Trial Act.

        As for the motion to sever, Fed. R. Crim. P. 14(a) provides that if the “joinder of

offenses or defendants in an indictment, an information, or a consolidation for trial appears

to prejudice a defendant or the government, the court may order separate trials of counts,

sever the defendants’ trials, or provide any other relief that justice requires.” As should be

clear to the parties at this point, the government seeks to introduce testimony against Castillo

that would violate his co-defendant’s Sixth Amendment rights under the confrontation

clause. See, e.g., United States v. Banks, 78 F.3d 1190, 1199 (7th Cir. 1996) (“a defendant

is deprived of his rights under the Confrontation Clause when his nontestifying codefendant’s

confession naming him as a participant in the crime is introduced at their joint trial, even if

the jury is instructed to consider that confession only against the codefendant”) (citing

Bruton v. United States, 391 U.S. 123 (1968)) (vacated on other grounds by Mills v. United

States, 519 U.S. 990 (1996)). Severance is necessary to ensure that all of the parties receive

a fair trial.

        Finally, the Court realizes that the speedy trial date for Castillo is about to expire, but

the Court’s calendar is such that it is unable to accommodate those rights. Therefore, the

Court will put Castillo’s trial on the calendar as soon as is practicable. See United States v.

Gallardo, 773 F.2d 1496, 1505 (9th Cir. 1985) (limitation on granting continuance based on



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docket congestion does not apply where continuance is only indirectly attributable to docket

congestion). Further, as the Court held when it denied Castillo’s previous motion to dismiss,

the evidence against Castillo is strong and substantial. (D. 116). Therefore, the Court finds

that the ends of justice outweigh the interests of the public and the defendant in a speedy

trial, and the Court grants a continuance on that basis.               § 3161(h)(8)(A); §

3161(h)(8)(B)(i)(Court shall consider whether failure to grant continuance would result in

a miscarriage of justice).

       NOW, THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED THAT:

       1.     Castillo’s motion to dismiss under the Speedy Trial Act [D. 117] is DENIED;

       2.     The government’s motion to sever [D. 118] is GRANTED; and

       3.     The Court is prepared to summon a jury to hear this case on March 17, 2008

or April 7, 2008. Counsels should notify the Court clerk immediately as to their availability.

              Dated at Milwaukee, Wisconsin, this 7th day of March, 2008.

                                                   SO ORDERED,


                                                   s/ Rudolph T. Randa
                                                   HON. RUDOLPH T. RANDA
                                                   Chief Judge




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